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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


SOPHIA BALOW, et al.,

       Plaintiffs,
                                                    Case No. 1:21-cv-44
v.
                                                    Hon. Hala Y. Jarbou
MICHIGAN STATE UNIVERSITY, et al.,

      Defendants.
___________________________________/

                                            ORDER

       In accordance with the opinion entered this date:

       IT IS ORDERED that Plaintiffs’ motion for a preliminary injunction (ECF No. 2) is

GRANTED IN PART.

       IT IS FURTHER ORDERED that Defendants’ objection to Plaintiffs’ supplemental

evidence (ECF No. 106) is DENIED.

       IT IS FURTHER ORDERED that Defendants shall submit to the Court a Title IX

compliance plan within 60 days of the entry of this Order.



 Dated: August 8, 2022                           /s/ Hala Y. Jarbou
                                                 HALA Y. JARBOU
                                                 CHIEF UNITED STATES DISTRICT JUDGE
